Case 2:18-cv-00494-JRG-RSP Document 104 Filed 10/24/19 Page 1 of 1 PageID #: 3118




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   UNILOC 2017 LLC,                               §
                                                  §
                  Plaintiff,                      §
                                                  §
   v.                                             §       Case No. 2:18-cv-00494-JRG-RSP
                                                  §
   GOOGLE LLC,                                    §
                                                  §
                  Defendant.                      §

                                              ORDER
         Before the Court is Defendant Google LLC’s (“Google”) Motion to Dismiss for Lack of

  Standing and Improper Venue Under Rules 12(b)(1), 12(b)(3) and 12(b)(6) (“the Original Motion

  to Dismiss”) (Dkt. No. 20) and Motion to Transfer Venue to the Northern District of California

  Under 28 U.S.C. § 1404 (“the Original Motion to Transfer”) (Dkt. No. 57). The Court previously

  granted a joint motion for venue and jurisdictional discovery and permitted Google to re-brief both

  its Original Motion to Dismiss and its Original Motion to Transfer to address any newly-

  discovered material. Google subsequently filed a Renewed Motion to Dismiss for Lack of Standing

  and Improper Venue (“the Renewed Motion to Dismiss”) (Dkt. No. 100) and a Renewed Motion

  to Transfer Venue to the Northern District of California Under 28 U.S.C. § 1404 (“the Renewed

  Motion to Transfer”) (Dkt. No. 99) (collectively, “the Renewed Motions”).

         In light of the Renewed Motions, the Court finds that the Original Motion to Dismiss

  (Dkt. No. 20) and the Original Motion to Transfer (Dkt. No. 57) are DENIED AS MOOT.
